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                        UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


      MATTHEW LAROSIERE,

                       Plaintiff,

      v.                                          Case No: 6:24-cv-1629-WWB-LHP

      CODY RUTLEDGE WILSON,
      DEFCAD, INC., DEFENSE
      DISTRIBUTED and DIOSKOUROI
      LLC,

                        Defendants
      /Third Party Plaintiff,

      MAF CORP., JOHN LETTMAN,
      MATTHEW LAROSIERE, PETER
      CELENTANO, THE GATALOG,
      JOSH KIEL STROKE, JOHN ELIK,
      THE GATALOG FOUNDATION,
      ALEXANDER HOLLADAY, MAF
      CORP., THE GATALOG,
      ALEXANDER HOLLADAY, JOHN
      LETTMAN, JOSH KIEL STROKE,
      PETER CELENTANO and JOHN
      ELIK,

                       Third Party
                       Defendants.
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                                           ORDER

            Before the Court is a Request for Entry of Default Judgment as to Peter

      Celentano, filed by Third Party Plaintiff Defense Distributed. Doc. No. 105. On

      review, the motion (Doc. No. 105) is DENIED without prejudice for failure to

      comply with Local Rule 3.01(g).       Although the motion states that Defense

      Distributed has attempted to communicate with Mr. Celentano’s counsel, the

      motion does not state the outcome of such attempts, nor does the motion otherwise

      include the position of the remaining parties in this case. See id. at 5. Defense

      Distributed shall file a renewed motion within seven (7) days of the date of this

      Order, in full compliance with the Local Rules.

            DONE and ORDERED in Orlando, Florida on June 3, 2025.




      Copies furnished to:

      Counsel of Record
      Unrepresented Parties




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